           CASE 0:24-cv-00001-ECT-TNL Doc. 32 Filed 02/20/24 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA



    CHERYL SAGATAW, DEANTHONY
    BARNES, ROBERTA STRONG, and
    TRAVIS NELOMS, on behalf of
    themselves and a class of
    similarly-situated individuals,                                     Civil Action No.
                                                                    0:24-cv-00001-ECT/TNL

                                    Plaintiffs,

             vs.


    MAYOR JACOB FREY, in his
    individual and official capacity,


                                    Defendant.

                                             STIPULATION
         Plaintiffs’ attorney Kira Kelley and Defendant’s attorney Sharda Enslin
conferred prior to the Plaintiffs’ filing their Second Motion for Temporary
Restraining Order. In recognition of the challenges that tight scheduling can pose
on attorneys and court staff, the parties came to the following agreements:
      1. In exchange for Defendant agreeing to pause closure1 of Camp Nenookaasi,
         currently located on 28th Street between 11th and 12th Avenues in
         Minneapolis, until a hearing may be held on Plaintiffs’ Second Motion for a



1
 As counsel discussed, a pause on closure does not restrict law enforcement from temporarily asking people to
vacate the premises of Nenookaasi for safety reasons, and could handle emergencies at Nenookaasi in the same
manner as they would if responding to a similar event in an apartment complex.


                                                        1
        CASE 0:24-cv-00001-ECT-TNL Doc. 32 Filed 02/20/24 Page 2 of 3




      Temporary Restraining Order, Plaintiffs agreed to allow Defendant to
      propose a more relaxed briefing schedule.
   2. Both parties are satisfied with this agreement, and jointly propose to the
      Court the following timeline:
          a. Plaintiff will file the Second Motion for a Temporary Restraining
             Order and all accompanying materials on February 20, 2024.
          b. Defendant would file a response by February 27, 2024.
          c. The Motion would be heard on February 29, 2024, or March 1, 2024,
             subject to the Court’s availability.


WHEREFORE, Plaintiffs and Defendant respectfully request that this Court adopt

the stipulated-to briefing schedule.



                                 Respectfully submitted,



Date: February 20, 2024                             ____________________
                                                    _________________
                                                    /s/ Kira Kelley
                                                    KIRA   A. KELLEY
                                                    Kira Kelley, Esq.
                                                    Climate Defense Project
                                                    MN Bar No. 0402932
                                                    P.O. Box 7040
                                                    Minneapolis, MN 55407
                                                    (802) 683-4086
                                                    kira@climatedefenseproject.org

                                                    Attorney for Plaintiffs




                                           2
       CASE 0:24-cv-00001-ECT-TNL Doc. 32 Filed 02/20/24 Page 3 of 3




Dated: February 20, 2024                 KRISTYN M. ANDERSON
                                         Minneapolis City Attorney
                                         By
                                         /s/ Sharda Enslin
                                         Sharda Enslin (#0389370)
                                         Heather P. Robertson (#0390470)
                                         Kristin R. Sarff (#388003)
                                         J. Haynes Hansen (#0399102)
                                         Assistant City Attorneys
                                         Office of the Minneapolis City
                                         Attorney
                                         City Hall, Room 210
                                         350 S. Fifth Street
                                         Minneapolis, MN 55415
                                         Telephone: 612-673-3949
                                         sharda.enslin@minneapolismn.gov
                                         heather.robertson@minneapolismn.gov
                                         kristin.sarff@minneapolismn.gov
                                         haynes.hansen@minneapolismn.gov

                                         Attorneys for Defendant Jacob Frey




                                     3
